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 1                                                            The Honorable Richard A. Jones
 2
 3
 4
 5                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 6
                                      AT SEATTLE
 7
 8
      UNITED STATES OF AMERICA,                         NO. CR19-11RAJ
 9
                            Plaintiff                   ORDER FOR RESTITUTION
10
                       v.
11
      JENIFER LORRAINE HARDEN,
12
                            Defendant.
13
14         On September 25, 2020, this Court entered an Order terminating Defendant’s
15 participation in the Drug Reentry Alternative Model (DREAM) program, granting
16 Defendant’s request to withdraw her previously entered guilty pleas, and granting the
17 government’s request to dismiss with prejudice the criminal charges filed in this case.
18         The Court having reviewed the parties’ Stipulation for Order Regarding Payment
19 of Restitution and Retention of Jurisdiction for Enforcement, hereby accepts the
20 Stipulation as drafted and orders:
21         1.      The previously agreed restitution amount of $384,000, less any amounts
22 paid, shall be due and payable immediately;
23         2.      The Defendant shall continue making restitution payments through the
24 clerk of the court in an amount of no less than $25 per month, with the minimum
25 payment subject to revision by order of the Court depending upon the defendant’s
26 financial circumstances, until the restitution obligation is satisfied. Payments will be
27 made to the United States District Court, Western District of Washington, referencing
28                                                                       UNITED STATES ATTORNEY
     ORDER FOR RESTITUTION
                                                                           700 STEWART STREET, SUITE
     HARDEN/CR19-11RAJ - 1
                                                                                      5220
                                                                          SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
                  Case 2:19-cr-00011-RAJ Document 54 Filed 09/25/20 Page 2 of 3




1 case No. CR19-11RAJ, and deliver such payments personally, electronically, or by First
2 Class Mail to:
3           United States District Court, Western District of Washington
            Attn: Financial Clerk – Lobby Level
4
            700 Stewart Street
5           Seattle, Washington 98101
6
            3.       The identified victim entitled to restitution is Key Bank. The previously
7
     agreed restitution amount of $384,000 shall be distributed by the Financial Clerk to the
8
     identified victim to the following address:
9
              Victim              Amount                             Address
10
        Key Bank                      $384,000 KeyBank
11                                             Mail code : NY-31-55-0100
12                                             Attn: Ellen De John
                                               555 Patroon Creek Boulevard
13                                             Albany NY 12206
14
15          4.       Compliance with this obligation shall be enforced as follows:
16          (i)      Defendant shall report all restitution payments, specifying the amounts paid
17                   and providing proof of payment, in writing to United States Probation, U.S.
18                   Probation Office – Western District of Washington, 700 Stewart Street,
19                   Suite 11101, Seattle, Washington 98101, and the U.S. Attorney’s Office,
20                   Attn: DREAM Executive Review Team, 700 Stewart Street, Suite 5220,
21                   Seattle, Washington 98101, on a quarterly basis, that is, within one week
22                   following expiration of each 90 day period after dismissal of criminal
23                   charges;
24          (ii)     Defendant shall report employment and wage information, specifying
25                   employer name, address and phone number, and wage/salary amount, in
26                   writing to United States Probation and the U.S. Attorney’s Office, within
27                   one week after employment commences;
28                                                                          UNITED STATES ATTORNEY
      ORDER FOR RESTITUTION
                                                                              700 STEWART STREET, SUITE
      HARDEN/CR19-11RAJ - 2
                                                                                         5220
                                                                             SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
               Case 2:19-cr-00011-RAJ Document 54 Filed 09/25/20 Page 3 of 3




 1        (iii)   Defendant shall report change of residential address and phone numbers in
 2                writing to United States Probation and the U.S. Attorney’s Office within
 3                one week of a change;
 4        (iv)    In the event the U.S. Attorney’s Office believes Defendant has defaulted on
 5                her restitution obligation, it shall first advise her in writing and provide an
 6                opportunity to cure the default or submit a written explanation to the U.S.
 7                Attorney’s Office within one week of receiving the default notice;
 8        (v)     If, after reviewing defendant’s response, the U.S. Attorney’s Office
 9                continues to believe Defendant has defaulted on her restitution obligation, it
10                shall file with the court an ex parte application seeking an order to show
11                cause why Defendant should not be held in contempt for failing to comply
12                with the Court’s order regarding restitution.
13        5.      This Court shall retain jurisdiction over this matter for purpose of enforcing
14 this Order.
15        IT IS SO ORDERED.
16
17        DATED this 25th day of September, 2020.
18
19                                                    A
20                                                    The Honorable Richard A. Jones
21                                                    United States District Judge
                                                      Western District of Washington
22                                                    DREAM Judicial Officer
23
24
25
26
27
28                                                                         UNITED STATES ATTORNEY
     ORDER FOR RESTITUTION
                                                                             700 STEWART STREET, SUITE
     HARDEN/CR19-11RAJ - 3
                                                                                        5220
                                                                            SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
